           Case 1:22-ap-01028-MB Doc 16 Filed 09/14/22 Entered 09/14/22 21:27:47                                                                    Desc
                               Imaged Certificate of Notice Page 1 of 3
                                                               United States Bankruptcy Court
                                                                Central District of California
Tonoyan,
      Plaintiff                                                                                                         Adv. Proc. No. 22-01028-MB
Dokuzyan,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-1                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: Sep 12, 2022                                                Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 14, 2022:
Recip ID                 Recipient Name and Address
pla                    + Hovanes John Tonoyan, 6627 Beeman Ave, North Hollywood, CA 91606-1202
dft                    + Lusine Cristine Dokuzyan, 7635 Bluebell Ave., North Hollywood, CA 91605-2002

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 14, 2022                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 12, 2022 at the address(es) listed
below:
Name                               Email Address
Amy L Goldman (TR)
                                   marisol.jaramillo@lewisbrisbois.com AGoldman@iq7technology.com;ecf.alert+Goldman@titlexi.com

Sevan Gorginian
                                   on behalf of Defendant Lusine Cristine Dokuzyan sevan@gorginianlaw.com
                                   2486@notices.nextchapterbk.com;ani@gorginianlaw.com

United States Trustee (SV)
                                   ustpregion16.wh.ecf@usdoj.gov


TOTAL: 3
Case 1:22-ap-01028-MB Doc 16 Filed 09/14/22 Entered 09/14/22 21:27:47                               Desc
                    Imaged Certificate of Notice Page 2 of 3



   1   Sevan Gorginian, Esq. (SBN 298986)
       Law Office of Sevan Gorginian
   2   450 North Brand Boulevard, Suite 600                       FILED & ENTERED
   3   Glendale, California 91203
       Tel: 818.928.4445 | Fax: 818.928.4450
       Email: sevan@gorginianlaw.com                                    SEP 12 2022
   4
   5   Attorney for Debtor/Defendant                               CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
                                                                   BY Pgarcia DEPUTY CLERK
   6                          UNITED STATES BANKRUPTCY COURT
   7                            CENTRAL DISTRICT OF CALIFORNIA
   8                             SAN FERNANDO VALLEY DIVISION
   9
  10   In re:                            )            Case No.: 1:22-bk-10283-MB
                                         )
  11    LUSINE CRISTINE DOKUZYAN,        )            Chapter 7
                                         )
  12                            Debtor.               Adv. No.: 1:22-ap-01028-MB
                                         )
       _________________________________ )
  13                                                  ORDER GRANTING IN PART AND
                                         )            DENYING IN PART MOTION TO
  14   HOVANES JOHN TONOYAN,
                                         )            DISMISS, SETTING DEADLINES AND
                     Plaintiff,          )            CONTINUING STATUS CONFERENCE
  15
                                         )
  16   vs.                               )
                                         )            Date: August 31, 2022
  17   LUSINE CRISTINE DOKUZYAN,         )            Time: 2:30 p.m.
                                         )            Place: Courtroom 303
  18                 Defendant.
                                         )                   21041 Burbank Boulevard
  19                                     )                   Woodland Hills, CA 91367
                                         )
  20
                On August 31, 2022, the Court held the hearing of the Motion to Dismiss
  21
       Complaint Under FRCP 12(b)(6) for Failure to State a Claim for Relief ³Motion To
  22
       Dismiss´ [Dkt. 3] and the adversary status conference. Appearances are as noted on
  23
       WKH&RXUW¶VUHFRUG of the hearing.
  24
          The Court, having reviewed and considered the Motion To Dismiss, 3ODLQWLII¶V
  25
       2SSRVLWLRQ WR 'HIHQGDQW¶V  E   0RWLRQ WR 'LVPLVV LQ WKH $3 &DVH  [Dkt. 11], and
  26
       the 5HSO\ WR 3ODLQWLII¶V 2SSRVLWLRQ WR 0RWLRQ WR 'LVPLVV &RPSODLQW [Dkt. 12], having
  27   heard the arguments of counsel and plaintiff made at the hearing and good cause
  28   appearing therefor, IT IS HEREBY ORDERED THAT:

                                                   -1-
Case 1:22-ap-01028-MB Doc 16 Filed 09/14/22 Entered 09/14/22 21:27:47                       Desc
                    Imaged Certificate of Notice Page 3 of 3



   1      1. The Motion To Dismiss is granted in part and denied in part as follows:
   2              a) Denied as to § 523(a)(2)(A);

   3              b) Denied as to § 523(a)(2)(B);

   4              c) Dismissed as to § 523(a)(2)(C), with leave to amend;

   5              d) Dismissed as to § 523(a)(6), with leave to amend;

   6              e) Dismissed as to §§ 727 and 707(b), with leave to amend; and

   7              f) Dismissed as to declaratory relief, 28 U.S.C. §2201, without leave to

   8                  amend,
          IT IS FURTHER ORDERED THAT:
   9
          2. Plaintiff Hovanes Tonoyan shall file and serve his first amended complaint by no
  10
       later than October 12, 2022;
  11
          3. Defendant Lusine Dokuzyan shall file and serve her answer or motion to dismiss
  12
       by no later than October 26, 2022; and
  13
          3. The Adversary Case Status Conference is continued to November 16, 2022, at
  14
       1:30 p.m., with a joint status report due by no later than November 9, 2022.
  15
                                                ###
  16
  17
  18
  19
  20
  21
  22
  23
  24 Date: September 12, 2022
  25
  26
  27
  28


                                                    -2-
